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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HONG KONG LEYUZHEN TECHNOLOGY CO.
LIMITED,

                 Plaintiff,
                                                             Case No. 24-cv-01689
v.
                                                             Judge Andrea R. Wood
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED IN SCHEDULE
“A” HERETO,

                 Defendants.

                              PRELIMINARY INJUNCTION ORDER

           THIS CAUSE being before the Court on Plaintiff’s, Hong Kong Leyuzhen

Technology Co. Limited (“Plaintiff”), Motion for Entry of a Preliminary Injunction

(“Motion”) and this Court having heard the evidence before it, the Court hereby GRANTS

Plaintiff’s Motion for Entry of a Preliminary Injunction against those numbered defendants

identified in the current Schedule A to the Complaint [24-2], who operate fully interactive, e-

commerce stores (the “Online Marketplaces”) under the seller aliases identified in Schedule A

(the “Seller Aliases”) and attached hereto.

            This Court finds Plaintiff has provided notice to Defendants in accordance with the

     Temporary Restraining Order entered July 31, 2024 [29] (“TRO”), and Federal Rule of Civil

     Procedure 65(a)(1).

           The Court also finds, in the absence of adversarial presentation, that it has personal

jurisdiction over Defendants because Defendants directly target their business activities toward


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consumers in the United States, including consumers in Illinois. Specifically, Plaintiff has

provided a basis to conclude that Defendants have targeted sales to Illinois residents by setting

up and operating e-commerce stores that target United States consumers using one or more

seller aliases, offer shipping to the United States, including to Illinois, and have sold knockoff

products through the unauthorized use and display of Plaintiff’s federally registered copyrights

(the “Plaintiff’s Copyrights”) to residents of Illinois. See Docket No. 24-1, Ex. 1 to the Amended

Complaint, which includes the three (3) copyrights associated with the Plaintiff’s Copyrights,

VA0002379907, VA0002379894, and VA0002379930.

        The Court further finds that the injunctive relief previously granted in the TRO should

remain in place through the pendency of this litigation and that issuing this Preliminary

Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence submitted in

support of this Motion and in support of Plaintiff’s previousl y granted Motion for Entry of a

TRO establishes that Plaintiff has demonstrated a likelihood of success on the merits; that no

remedy at law exists; and that Plaintiff will suffer irreparable harm if the injunction is not

granted.

        Specifically, Plaintiff has proved a prima facie case of copyright infringement because

(1) Plaintiff is the lawful assignee of all right, title and interest in and to the federally registered

copyrights, (2) Defendants make, use, offer for sale, sell, and/or import into the United States

for subsequent sale or use knock-off products that infringe directly and/or indirectly the

Plaintiff’s federally registered copyrights and (3) an ordinary observer would be deceived into

thinking the Infringing Products were the same as Plaintiff’s federally registered copyrights.

Furthermore, Defendants’ continued, and unauthorized use of Plaintiff’s federally registered

copyrights irreparably harms Plaintiff through loss of customers’ goodwill and reputational



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harm. Monetary damages fail to address such damage and, therefore, Plaintiff has an inadequate

remedy at law. Moreover, the public interest is served by entry of this Preliminary Injunction

to dispel the public confusion created by Defendants’ actions. As such, this Court orders that:

1.           Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with

them be enjoined and restrained from:

        a.       Using or displaying the Plaintiff’s Copyrights in connection with the

distribution, marketing, advertising, offering for sale, or sale of any product that is not a genuine

Plaintiff’s product or is not authorized by Plaintiff to be sold in connection with the Plaintiff’s

Copyrights;

        b.       passing off, inducing, or enabling others to sell or pass off any product as a

genuine Plaintiff’s product or any other product produced by Plaintiff that is not Plaintiff’s or

not produced under the authorization, control, or supervision of Plaintiff and approved by

Plaintiff for sale under the Plaintiff’s Copyrights;

        c.       committing any acts calculated to cause consumers to believe that Defendants’

products are those sold under the authorization, control, or supervision of Plaintiff, or are

sponsored by, approved by, or otherwise connected with Plaintiff; and

        d.       manufacturing, shipping, delivering, holding for sale, transferring or otherwise

moving, storing, distributing, returning, or otherwise disposing of, in any manner, products or

inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

for sale through the use or display of the Plaintiff’s Copyrights.

2.           Defendants shall not transfer or dispose of any money or other of Defendants’

assets in any of Defendants’ financial accounts.



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3.          Upon Plaintiff’s request, any third party with actual notice of this Order who is

providing services for any of the Defendants or in connection with any of Defendant's

Online Marketplaces, such as eBay, Inc. (“eBay”), AliExpress, Alibaba Group Holding Ltd.

("Alibaba"), Amazon.com,        Inc. (“Amazon”),      ContextLogic      Inc. d/b/a Wish.com

(“Wish.com”), and Dhgate (collectively, the “Third Party Providers”) shall, within ten (10)

business days after receipt of such notice, provide to Plaintiff expedited discovery,

including copies of all documents and records in such person’s or entity’s possession or

control relating to:

       a.       the identities and locations of Defendants, their officers, agents, servants,

employees, attorneys, and any persons acting in active concert or participation with them,

including all known contact information and all associated e-mail addresses;

       b.       the nature of Defendants’ operations and all associated sales, methods of

payment for services, and financial information, including, without limitation, identifying

information associated with the Online Marketplaces and Defendants’ financial accounts,

including Defendants’ sales and listing history related to their respective Online

Marketplaces; and

       c.       any financial accounts owned or controlled by Defendants, including their

officers, agents, servants, employees, attorneys, and any persons acting in active concert or

participation with them, including such accounts residing with or under the control of any

banks, savings and loan associations, payment processors or other financial institutions,

including, without limitation, PayPal, Alipay, Wish.com, Alibaba, Ant Financial, Amazon

Pay, or other merchant account providers, payment providers, third party processors, credit card

associations (e.g., MasterCard and VISA), including present balances on any accounts.



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4.     Upon Plaintiff’s request, those with notice of this Order, including the Third-Party

Providers as defined in Paragraph 3, shall within ten (10) business days after receipt of such

notice, disable and cease displaying any advertisements used by or associated with Defendants

in connection with the sale of counterfeit and infringing goods using the Plaintiff’s

Copyrights.

5.          Any Third-Party Providers, including PayPal, Alipay, Alibaba, Ant Financial,

Wish.com, and Amazon Pay, shall, within ten (10) business days of receipt of this Order:

       a. locate all accounts and funds connected to Defendants’ Seller Aliases, including,

but not limited to, any financial accounts connected to the information listed in Schedule A

hereto, the e-mail addresses identified in Exhibits, and any e-mail addresses provided for

Defendants by third parties; and

       b. restrain and enjoin any such accounts or funds from transferring or disposing of

any money or other of Defendants’ assets until further ordered by this Court.

6.          Plaintiff is authorized to issue expedited written discovery, pursuant to Federal

Rules of Civil Procedure 33, 34, 36, and 45, related to:

       a.       the identities and locations of Defendants, their officers, agents, servants,

employees, attorneys, and any persons acting in active concert or participation with them,

including all known contact information and all associated e-mail addresses;

       b.       the nature of Defendants’ operations and all associated sales, methods of

payment for services, and financial information, including, without limitation, identifying

information associated with the Online Marketplaces and Defendants’ financial accounts,

including Defendants’ sales and listing history related to their respective Online

Marketplaces; and



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       c.       any financial accounts owned or controlled by Defendants, including their

officers, agents, servants, employees, attorneys, and any persons acting in active concert or

participation with them, including such accounts residing with or under the control of any

banks, savings and loan associations, payment processors or other financial institutions,

including, without limitation, Temu.com, PayPal Inc. (“PayPal”), Alipay, ContextLogic

Inc. d/b/a Wish.com (“Wish.com”), Alibaba Group Holding Ltd. (“Alibaba”), Ant

Financial Services Group (“Ant Financial”), Amazon Pay, or other merchant account

providers, payment providers, third party processors, and credit card associations (e.g.,

MasterCard and VISA).

7.          Plaintiff is authorized to issue any such expedited discovery requests via

e-mail. Defendants shall respond to any such discovery requests within three (3) business days

of being served via e-mail.

8.     The domain name registries for Defendants’ domain names, including, but not limited

to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

Operating Company LLC, Name.com, PDR LTD. d/b/a/ PublicDomainRegistry.com,

Cloudflare Inc, Oracle Corp., Amazon Inc., Alibaba Group d/b/a Alibaba Cloud.com, Namesilo,

LLC d/b/a privacuguardian.org, and Namecheap Inc., within seven (7) calendar days of receipt

of this Order or prior to the expiration of this Order, whichever date shall occur first, shall

disable Defendants’ domain names and make them inactive and untransferable until further

order by this Court.

9.          Plaintiff may provide notice of these proceedings to Defendants, including service

of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions by electronically



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publishing a link to the Complaint, this Order and other relevant documents on a website

https://blointernetenforcement.com/, and by sending an e-mail to the e-mail addresses

identified in Exhibits and any e-mail addresses provided for Defendants by third parties that

includes a link to said website. The combination of providing notice via electronic publication

and e-mail, along with any notice that Defendants receive from payment processors, shall

constitute notice reasonably calculated under all circumstances to apprise Defendants of the

pendency of the action and afford them the opportunity to present their objections.

10.       Plaintiff has deposited with the Court ten thousand dollars ($10,000.00), on August

9, 2024 [31], as surety bond, as security, which amount was determined adequate for the

payment of such damages as any person may be entitled to recover as a result of wrongful

restraint hereunder. This bond shall remain with the Court until a final disposition of this case

or until this Preliminary Injunction is terminated.

11.       Any Defendants that are subject to this Order may appear and move to dissolve

or modify the Order as permitted by and in compliance with the Federal Rules of Civil

Procedure and Northern District of Illinois Local Rules. Any third party impacted by this

Order may move for appropriate relief.

12.       The docket entries at [29], [17], [6], and [4] are hereby unsealed.



 DATED: August 28, 2024
                                                   Andrea R. Wood
                                                   United States District Judge




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No.     Seller's Name                   Link to Seller's Webpage

                         https://www.ebay.com/sch/i.html?_ssn=applaudmiss&store_
       applaudmissView
 1                       name=applaudmissviewprofile&_oac=1&_trksid=p4429486.
            profile
                                             m3561.l161211

 2        areaquite      https://www.ebay.com/sch/i.html?item=355331767929&rt=n
                             c&_trksid=p4429486.m3561.l161211&_ssn=areaquite
                         https://www.ebay.com/sch/i.html?_ssn=arearoman&store_na
 3        arearoman
                         me=arearoman&_oac=1&_trksid=p4429486.m3561.l161211
                              https://www.ebay.com/sch/i.html?_ssn=arewere-
 4       arewere-37      37&store_name=arewere37&_oac=1&_trksid=p4429486.m3
                                               561.l161211
                         https://www.ebay.com/sch/i.html?item=186171369164&rt=n
 5        babyzeal
                             c&_trksid=p4429486.m3561.l161211&_ssn=babyzeal

                         https://www.ebay.com/sch/i.html?item=364664140855&rt=n
 6      beautyrose-uk
                          c&_trksid=p4429486.m3561.l161211&_ssn=beautyrose-uk

                         https://www.ebay.com/sch/i.html?_ssn=boxue_68&store_na
 7        boxue_68
                          me=boxue68&_oac=1&_trksid=p4429486.m3561.l161211
                              https://www.ebay.com/sch/i.html?_ssn=chang-
 8       chang-9711      9711&store_name=chang9711&_oac=1&_trksid=p4429486.
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           Clothes
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 9      Dreamland aka
                            c&_trksid=p4429486.m3561.l161211&_ssn=godvehicle
         Godvehicle

                         https://www.ebay.com/sch/i.html?_ssn=cnstore88&store_na
 10       cnstore88
                         me=cnstore88&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=day9330&store_nam
 11        day9330
                           e=day9330&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=didbest_3&store_na
 12       didbest_3
                          me=didbest3&_oac=1&_trksid=p4429486.m3561.l161211




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No.     Seller's Name                     Link to Seller's Webpage


                          https://www.ebay.com/sch/i.html?_ssn=dingxi5&store_name
 13        dingxi5
                             =dingxi5&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=drea6677&store_na
 14       drea6677
                          me=drea6677&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=dreamyhouse888&st
 15    dreamyhouse888     ore_name=dreamyhouse888&_oac=1&_trksid=p4429486.m
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 16       dumin-88        88&store_name=dumin88&_oac=1&_trksid=p4429486.m35
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 17
                                               3561.l161211

                          https://www.ebay.com/str/eingtill27rk?_trksid=p4429486.m3
 18      eingtill27rk
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                          https://www.ebay.com/sch/i.html?_ssn=w15056_41&store_n
        fantastic good
 19                       ame=fantasticgoodshop&_oac=1&_trksid=p4429486.m3561
             shop
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                          https://www.ebay.com/sch/i.html?_ssn=tapehair&store_nam
 20    Fashionclothing8   e=fashionclothing88&_oac=1&_trksid=p4429486.m3561.l1
              8                                     61211
                          https://www.ebay.com/sch/i.html?_ssn=fivestarshopping&st
 21                       ore_name=fivestarshopping&_oac=1&_trksid=p4429486.m3
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                          https://www.ebay.com/sch/i.html?_ssn=foreverhome88&stor
 22     foreverhome88     e_name=foreverhome88&_oac=1&_trksid=p4429486.m356
                                                 1.l161210
                          https://www.ebay.com/sch/i.html?_ssn=fqz7zonkx&store_na
 23      Fqz7zonkx
                          me=fqz7zonkx&_oac=1&_trksid=p4429486.m3561.l161211

                                         https://www.ebay.com/itm/
 24        frdroadd
                                                305307217555

                          https://www.ebay.com/sch/i.html?item=375186468272&rt=n
 25        frirising
                              c&_trksid=p4429486.m3561.l161211&_ssn=frirising




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 No.     Seller's Name                  Link to Seller's Webpage


                         https://www.ebay.com/sch/i.html?_ssn=fuh_11&store_name
 26
            fuh_11           =fuh11&_oac=1&_trksid=p4429486.m3561.l161211
                                https://www.ebay.com/sch/i.html?_ssn=fuh-
 27                      40&store_name=fuh40&_oac=1&_trksid=p4429486.m3561.
            fuh-40
                                                 l161211
          Generalfox     https://www.ebay.com/sch/i.html?item=386568696538&rt=n
 28
           Official         c&_trksid=p4429486.m3561.l161211&_ssn=generalfox
                               https://www.ebay.com/sch/i.html?_ssn=auto-
 29         GM07         topmotor&store_name=gm07&_oac=1&_trksid=p4429486.
                                             m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=guiq45&store_name
 30         guiq45
                            =guiq45&_oac=1&_trksid=p4429486.m3561.l161211
                               https://www.ebay.com/sch/i.html?_ssn=hequ6-
 31        hequ6-13      13&store_name=hequ613&_oac=1&_trksid=p4429486.m35
                                               61.l161211
                         https://www.ebay.com/sch/i.html?_ssn=hsymmind&store_na
 32       HSymmind
                         me=hsymmind&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=huashixin&store_na
 33        huashixin
                         me=huashixin&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?item=204541277325&rt=n
 34        in.marry
                             c&_trksid=p4429486.m3561.l161211&_ssn=in.marry
                         https://www.ebay.com/sch/i.html?_ssn=jakobautobest&store
 35      jakobautobest   _name=jakobautobest&_oac=1&_trksid=p4429486.m3561.l
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                         https://www.ebay.com/sch/i.html?_ssn=jiaozh_0&store_nam
 36        jiaozhu_0
                           e=jiaozhu0&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=jourdeng81&store_n
 37       jourdeng81     ame=jourdeng81&_oac=1&_trksid=p4429486.m3561.l1612
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                                 https://www.ebay.com/sch/i.html?_ssn=junhu-
 38       junhu-1910     1910&store_name=junhu1910&_oac=1&_trksid=p4429486.
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 No.     Seller's Name                  Link to Seller's Webpage


                         https://www.ebay.com/sch/i.html?item=395033740344&rt=n
 39       junesock3js
                           c&_trksid=p4429486.m3561.l161211&_ssn=junesock3js

                         https://www.ebay.com/sch/i.html?_ssn=kelu_4663&store_na
 40        kelu 4663
                          me=kelu4663&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=gus2360&store_nam
 41       King-9527
                          e=king9527&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=koodyy&store_name
 42         koodyy
                            =koodyy&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=lanm826&store_nam
 43       Lanm Tool
                           e=lanm826&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=fan_47&store_name
        Large discount
 44                      =largediscountshop&_oac=1&_trksid=p4429486.m3561.l16
            Shop
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                         https://www.ebay.com/sch/i.html?_ssn=lilia_3329&store_na
 45       lilia_3329
                          me=lilia3329&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=liming_438&store_n
 46                      ame=liming438&_oac=1&_trksid=p4429486.m3561.l16121
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                         https://www.ebay.com/sch/i.html?_ssn=lintao&store_name=l
 47         lintao
                               intao&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=llly_7419&store_na
 48        llly_7419
                          me=llly7419&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=longgu_45&store_na
 49       longgu_45
                          me=longgu45&_oac=1&_trksid=p4429486.m3561.l161211
                              https://www.ebay.com/sch/i.html?_ssn=luoshu-
 50                      6296&store_name=luoshu6296&_oac=1&_trksid=p4429486
         luoshu-6296
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                         https://www.ebay.com/sch/i.html?_ssn=lyshu81&store_nam
 51        lyshu81
                           e=lyshu81&_oac=1&_trksid=p4429486.m3561.l161211




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 No.     Seller's Name                    Link to Seller's Webpage

                           https://www.ebay.com/sch/i.html?_ssn=maisonvetement&sto
 52     maisonvetement     re_name=maisonvetement&_oac=1&_trksid=p4429486.m35
                                                    61.l161211
                                  https://www.ebay.com/sch/i.html?_ssn=maiyata-
 53       maiyata-23       23&store_name=maiyata23&_oac=1&_trksid=p4429486.m3
                                                   561.l161211
                           https://www.ebay.com/sch/i.html?_ssn=maoming8&store_na
 54       maoming8
                           me=maoming8&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?item=386548806152&rt=n
 55       mengd_27
                              c&_trksid=p4429486.m3561.l161211&_ssn=mengd_27

                           https://www.ebay.com/sch/i.html?item=364621104771&rt=n
 56       Minke23mk
                             c&_trksid=p4429486.m3561.l161211&_ssn=minke23mk
                           https://www.ebay.com/sch/i.html?_ssn=wangwen3465&stor
 57     money fighting     e_name=moneyfighting&_oac=1&_trksid=p4429486.m3561
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                           https://www.ebay.com/sch/i.html?_ssn=moshang_11&store_
 58      moshang_11        name=moshang11&_oac=1&_trksid=p4429486.m3561.l161
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                                  https://www.ebay.com/sch/i.html?_ssn=muguan-
           muguan-
 59                        1383&store_name=muguan1383viewprofile&_oac=1&_trksi
       1383View profile
                                            d=p4429486.m3561.l161211
                           https://www.ebay.com/sch/i.html?_ssn=nangguan_97&store
 60       nangua233        _name=nangua233&_oac=1&_trksid=p4429486.m3561.l161
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                           https://www.ebay.com/sch/i.html?item=404681482656&rt=n
 61       Nttasty12nt
                              c&_trksid=p4429486.m3561.l161211&_ssn=nttasty12nt

                           https://www.ebay.com/sch/i.html?item=145545199055&rt=n
 62      nvvictory12nv
                           c&_trksid=p4429486.m3561.l161211&_ssn=nvvictory12nv
                           https://www.ebay.com/sch/i.html?_ssn=ochgoodway&store_
 63      ochgoodway        name=ochgoodway&_oac=1&_trksid=p4429486.m3561.l16
                                                     1211
                           https://www.ebay.com/sch/i.html?item=126264334167&rt=n
 64     Paieasy Official
                               c&_trksid=p4429486.m3561.l161211&_ssn=paieasy




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 No.     Seller's Name                   Link to Seller's Webpage


                          https://www.ebay.com/sch/i.html?item=314542667574&rt=n
 65      PLUM73PRO
                             c&_trksid=p4429486.m3561.l161211&_ssn=plum73pro

                          https://www.ebay.com/sch/i.html?_ssn=questeasy&store_na
 66        questeasy
                          me=questeasy&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?item=315076567547&rt=n
 67       quickyoung
                            c&_trksid=p4429486.m3561.l161211&_ssn=quickyoung

                          https://www.ebay.com/sch/i.html?_ssn=ratidee&store_name
 68         ratidee
                             =ratidee&_oac=1&_trksid=p4429486.m3561.l161211
                                https://www.ebay.com/sch/i.html?_ssn=richer-w-
 69                       29&store_name=richerw29&_oac=1&_trksid=p4429486.m3
          richer-w-29
                                                 561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=salessgoods&store_n
 70       salessgoods     ame=salessgoods&_oac=1&_trksid=p4429486.m3561.l1612
                                                      11
                          https://www.ebay.com/sch/i.html?item=235401797158&rt=n
 71       samess07rk
                            c&_trksid=p4429486.m3561.l161211&_ssn=samess07rk
                          https://www.ebay.com/sch/i.html?_ssn=sevencolorslife&stor
 72     sevencolorslife   e_name=sevencolorslife&_oac=1&_trksid=p4429486.m356
                                                 1.l161211
                          https://www.ebay.com/sch/i.html?_ssn=sho3988&store_nam
 73        sho3988
                            e=sho3988&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=shunbor&store_nam
 74        shunbor
                            e=shunbor&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=summer432&store_n
 75       summer432       ame=summer432&_oac=1&_trksid=p4429486.m3561.l1612
                                                      11
                                   https://www.ebay.com/sch/i.html?_ssn=sus-
 76       sus-136064      136064&store_name=sus136064&_oac=1&_trksid=p442948
                                               6.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=takemetoyou&store_
 77      takemetoyou      name=takemetoyou&_oac=1&_trksid=p4429486.m3561.l16
                                                     1211



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 No.     Seller's Name                  Link to Seller's Webpage

                         https://www.ebay.com/sch/i.html?_ssn=termsbonn4&store_n
 78       termsbonn4     ame=termsbonn4&_oac=1&_trksid=p4429486.m3561.l1612
                                                     11
                         https://www.ebay.com/sch/i.html?_ssn=thel5045&store_nam
 79        thel5045
                           e=thel5045&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=weyiqi&store_name
 80         weyiqi
                            =weyiqi&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?item=285658184754&rt=n
 81       worldicon
                            c&_trksid=p4429486.m3561.l161211&_ssn=worldicon

                         https://www.ebay.com/sch/i.html?_ssn=xixu88y&store_nam
 82        xixu88y
                           e=xixu88y&_oac=1&_trksid=p4429486.m3561.l161211
                                https://www.ebay.com/sch/i.html?_ssn=xyli-
 83        xyli-007      007&store_name=xyli007&_oac=1&_trksid=p4429486.m35
                                               61.l161211
                              https://www.ebay.com/sch/i.html?_ssn=yaduan-
 84       yaduan-98      98&store_name=happyyaduan98&_oac=1&_trksid=p44294
                                            86.m3561.l161211
                         https://www.ebay.com/str/yuxiao8095?_trksid=p4429486.m
 85      yuxiao_8095
                                              3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=yes244&store_name
 86         yes244
                            =yes244&_oac=1&_trksid=p4429486.m3561.l161211
                                https://www.ebay.com/sch/i.html?_ssn=yie-
 87         yie-25       25&store_name=yie25&_oac=1&_trksid=p4429486.m3561.l
                                                 161211
                               https://www.ebay.com/sch/i.html?_ssn=yuxin-
 88        yuxin-77      77&store_name=yuxin77&_oac=1&_trksid=p4429486.m35
                                               61.l161211
                         https://www.ebay.com/sch/i.html?_ssn=zhawa_73&store_na
 89        zhawa_73
                          me=zhawa73&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=znustore&store_nam
 90        znustore
                           e=znustore&_oac=1&_trksid=p4429486.m3561.l161211




                                       14
Case: 1:24-cv-01689 Document #: 42 Filed: 08/28/24 Page 15 of 38 PageID #:1217




 No.     Seller's Name                   Link to Seller's Webpage


                          https://www.ebay.com/sch/i.html?_ssn=zzhug520&store_na
 91       ZZhug520
                          me=zzhug520&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=adafaa&store_name
 92         adafaa
                             =adafaa&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=3q118&store_name=
 93      Allen s-stone
                            allensstone&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=angulzhe&store_na
 94        angulzhe
                          me=angulzhe&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=ayuniu658&store_na
 95       ayuniu658
                          me=ayuniu658&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=bownes111&store_n
 96       bownes111       ame=bownes111&_oac=1&_trksid=p4429486.m3561.l1612
                                                     11
                          https://www.ebay.com/sch/i.html?_ssn=changlan5&store_na
 97       changlan5
                          me=changlan5&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=cll_169&store_name
 98         cll_169
                              =cll169&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=colsew&store_name
 99         colsew
                            =colsew66&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=dd.diy.beads&store_
 100   DD.DIY.BEADS
                          name=ie7glass&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=dzdl_31&store_nam
 101       dzdl_31
                             e=dzdl31&_oac=1&_trksid=p4429486.m3561.l161211

          EDC world       https://www.ebay.com/sch/i.html?item=404722794957&rt=n
 102
       store/zhaoyi9572     c&_trksid=p4429486.m3561.l161211&_ssn=zhaoyi9572
                          https://www.ebay.com/sch/i.html?_ssn=fefeaas2&store_nam
 103     fefeaas2 shop    e=fefeaas2shop&_oac=1&_trksid=p4429486.m3561.l16121
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 No.     Seller's Name                    Link to Seller's Webpage


                           https://www.ebay.com/sch/i.html?_ssn=flstance&store_name
 104     flstance shop
                            =flstanceshop&_oac=1&_trksid=p4429486.m3561.l161211
                           https://www.ebay.com/sch/i.html?item=204617072185&rt=n
 105    fourfriendsliang   c&_trksid=p4429486.m3561.l161211&_ssn=fourfriendslian
                                                       g
                           https://www.ebay.com/sch/i.html?_ssn=fufu8873&store_na
 106       fufu8873
                           me=fufu8873&_oac=1&_trksid=p4429486.m3561.l161211


 107       gclleahis                  https://www.ebay.com/usr/gclleahis


                           https://www.ebay.com/sch/i.html?_ssn=hanhe654&store_na
 108       hanhe654
                           me=hanhe654&_oac=1&_trksid=p4429486.m3561.l161211
                           https://www.ebay.com/sch/i.html?_ssn=www.11753&store_
 109    hanyanye shop      name=hanyanyeshop&_oac=1&_trksid=p4429486.m3561.l1
                                                    61211
                           https://www.ebay.com/sch/i.html?_ssn=hello20200928&stor
        hello20200928
 110                       e_name=hello20200928shop&_oac=1&_trksid=p4429486.m
             shop
                                                3561.l161211
                           https://www.ebay.com/sch/i.html?_ssn=you123yoyo&store_
 111    if-you-need-DIY    name=ifyouneeddiy&_oac=1&_trksid=p4429486.m3561.l16
                                                     1211
                           https://www.ebay.com/sch/i.html?_ssn=sousouxxd&store_na
         if-you-need-
 112                       me=ifyouneedwatch&_oac=1&_trksid=p4429486.m3561.l16
             watch
                                                     1211
                           https://www.ebay.com/sch/i.html?_ssn=james179917800&st
 113   James-and-Smith     ore_name=jamesandsmith&_oac=1&_trksid=p4429486.m35
                                                  61.l161211
                           https://www.ebay.com/str/jellycabin?_trksid=p4429486.m35
 114       jellycabin
                                                  61.l161211
                           https://www.ebay.com/sch/i.html?_ssn=woman_home&store
       jewelery_home88
 115                       _name=jeweleryhome888&_oac=1&_trksid=p4429486.m35
               8
                                                   61.l161211
                                   https://www.ebay.com/sch/i.html?_ssn=pmgx-
 116     jianbiaostore     4&store_name=jianbiaostore&_oac=1&_trksid=p4429486.m
                                                  3561.l161211



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 No.     Seller's Name                   Link to Seller's Webpage

                          https://www.ebay.com/sch/i.html?_ssn=goodshop_268&stor
 117      jimshop268      e_name=jimshop268&_oac=1&_trksid=p4429486.m3561.l1
                                                   61211
                          https://www.ebay.com/sch/i.html?_ssn=jngunlai&store_nam
 118       jngunlai
                            e=jngunlai&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=kaai776&store_nam
 119       kaai776
                            e=kaai776&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=kevinlee468&store_
 120   kevinlee468 shop   name=kevinlee468shop&_oac=1&_trksid=p4429486.m3561
                                                 .l161211
                          https://www.ebay.com/sch/i.html?item=285595795112&rt=n
 121       kyi2305
                              c&_trksid=p4429486.m3561.l161211&_ssn=kyi2305

                          https://www.ebay.com/sch/i.html?_ssn=lanla_5891&store_n
 122      lanla_5891
                          ame=lanla5891&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=lb2020lbnb&store_n
 123    lb2020lbnb shop   ame=lb2020lbnbshop&_oac=1&_trksid=p4429486.m3561.l1
                                                   61211
                          https://www.ebay.com/sch/i.html?_ssn=liaowe37&store_na
 124       liaowe37
                          me=liaowe37&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=linda_and_betty&sto
 125    Linda-and-Betty   re_name=lindaandbetty&_oac=1&_trksid=p4429486.m3561.
                                                  l161211
                          https://www.ebay.com/sch/i.html?_ssn=llk212&store_name=
 126      llk212 shop
                            llk212shop&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=timelosttime_7&stor
 127       luck-time      e_name=lucktime&_oac=1&_trksid=p4429486.m3561.l1612
                                                     11
                          https://www.ebay.com/sch/i.html?_ssn=mmaylay&store_na
 128       mmaylay
                          me=mmaylay&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?item=386527797025&rt=n
 129     morningbirds
                           c&_trksid=p4429486.m3561.l161211&_ssn=morningbirds




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 No.     Seller's Name                  Link to Seller's Webpage


                         https://www.ebay.com/sch/i.html?_ssn=msmsmsd&store_na
 130       msmsmsd
                         me=msmsmsd&_oac=1&_trksid=p4429486.m3561.l161211
                               https://www.ebay.com/sch/i.html?_ssn=mwangg-
 131      mwangg3k       3k&store_name=mwangg3k&_oac=1&_trksid=p4429486.m
                                               3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=mwangky9&store_n
 132      mwangky9       ame=mwangky9&_oac=1&_trksid=p4429486.m3561.l16121
                                                     1
                         https://www.ebay.com/sch/i.html?_ssn=ninieed&store_name
 133        ninieed
                            =ninieed&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=pinch_2341&store_n
 134      pinch_2341     ame=pinch2341&_oac=1&_trksid=p4429486.m3561.l16121
                                                     1
                         https://www.ebay.com/sch/i.html?_ssn=poiumn&store_name
 135        poiumn
                            =poiumn&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=qzhouruihan&store_
 136     qzhouruihan     name=qzhouruihan&_oac=1&_trksid=p4429486.m3561.l16
                                                   1211
                         https://www.ebay.com/sch/i.html?_ssn=ralumm&store_name
 137        ralumm
                            =ralumm&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=robinett1234&store_
 138     robinett1234    name=robinett1234&_oac=1&_trksid=p4429486.m3561.l16
                                                   1211
                         https://www.ebay.com/sch/i.html?_ssn=s8665s&store_name
 139      s8665s shop
                          =s8665sshop&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?item=145547127965&rt=n
 140       seek-grey
                            c&_trksid=p4429486.m3561.l161211&_ssn=seek-grey

                         https://www.ebay.com/sch/i.html?_ssn=shengk31&store_na
 141       shengk31
                         me=shengk31&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=xiaoxiaoshijie&store
 142      shijie2023     _name=shijie2023&_oac=1&_trksid=p4429486.m3561.l161
                                                    211



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 No.     Seller's Name                  Link to Seller's Webpage


                         https://www.ebay.com/sch/i.html?_ssn=sun_ya51&store_na
 143       sun_ya51
                          me=sunya51&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=sunshine**worldfact
          sunshine-
 144                     ory&store_name=zhangpingstore&_oac=1&_trksid=p44294
         worldfactory
                                              86.m3561.l161211
                                 https://www.ebay.com/sch/i.html?_ssn=swtinf-
 145       swtinf-47     47&store_name=swtinf47&_oac=1&_trksid=p4429486.m35
                                                  61.l161211
                         https://www.ebay.com/sch/i.html?_ssn=tolili7&store_name=
 146        tolili7
                              tolili7&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=ttyttes&store_name=
 147      ttyttes shop
                           ttyttesshop&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=vk55825&store_nam
 148     vk55825 shop    e=vk55825shop&_oac=1&_trksid=p4429486.m3561.l16121
                                                     1
                         https://www.ebay.com/sch/i.html?_ssn=waxxced&store_nam
 149       waxxced
                           e=waxxced&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=welcome_to_order&
       welcome_to_orde
 150                     store_name=welcometoordershop&_oac=1&_trksid=p44294
            r shop
                                             86.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=wernette123&store_
 151      wernette123    name=wernette123&_oac=1&_trksid=p4429486.m3561.l161
                                                    211
                         https://www.ebay.com/sch/i.html?_ssn=mumustore0&store_
          Wholesale-
 152                     name=xuntongstore&_oac=1&_trksid=p4429486.m3561.l16
         Fashion-Store
                                                   1211
                          https://www.ebay.com/sch/i.html?_ssn=wujiwsw&store_na
 153     wujiwsw shop    me=wujiwswshop&_oac=1&_trksid=p4429486.m3561.l161
                                                    211
                         https://www.ebay.com/sch/i.html?_ssn=fashion_store2&stor
 154    Wuwenlei2333     e_name=wuwenlei2333&_oac=1&_trksid=p4429486.m3561
                                                 .l161211
                         https://www.ebay.com/sch/i.html?_ssn=ww6ssx&store_nam
 155     ww6ssx shop
                         e=ww6ssxshop&_oac=1&_trksid=p4429486.m3561.l161211




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 No.     Seller's Name                   Link to Seller's Webpage


                          https://www.ebay.com/sch/i.html?_ssn=xgad335&store_nam
 156       xgad335
                            e=xgad335&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=xiao1xiao1&store_n
 157    xiao1xiao1 shop   ame=xiao1xiao1shop&_oac=1&_trksid=p4429486.m3561.l1
                                                   61211
                          https://www.ebay.com/sch/i.html?_ssn=xiaoj4302&store_na
 158       xiaoj4302
                          me=xiaoj4302&_oac=1&_trksid=p4429486.m3561.l161211

        xiaoxiaobai288    https://www.ebay.com/str/xiaoxiaobai288shop?_trksid=p442
 159
             shop                           9486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=xiaozhi2020&store_
 160   xiaozhi2020 shop   name=xiaozhi2020shop&_oac=1&_trksid=p4429486.m3561
                                                 .l161211
                          https://www.ebay.com/sch/i.html?_ssn=qxrrp_68&store_na
 161       xinshop
                           me=xinshop&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=xlz895&store_name
 162        xlz895
                             =xlz895&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=xxdxx2&store_name
 163     xxdxx2 shop
                           =xxdxx2shop&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=yandee&store_name
 164        yandee
                             =yandee&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=yidihi&store_name=
 165        yidihi
                               yidihi&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=yiqp33&store_name
 166        yiqp33
                             =yiqp33&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=yngdgg&store_name
 167        yngdgg
                             =yngdgg&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?item=285597510445&rt=n
 168       zhaokp18
                             c&_trksid=p4429486.m3561.l161211&_ssn=zhaokp18




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 No.     Seller's Name                   Link to Seller's Webpage

                          https://www.ebay.com/sch/i.html?_ssn=zhongbiaoltd&store_
         zhongbiaoltd
 169                      name=zhongbiaoltdshop&_oac=1&_trksid=p4429486.m356
            shop
                                                  1.l161211
                          https://www.ebay.com/sch/i.html?_ssn=zhongbiaomaoyi.ltd
       zhongbiaomaoyi.l
 170                      &store_name=zhongbiaomaoyiltdshop&_oac=1&_trksid=p4
           td shop
                                           429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=2018world*top1&st
       Factory*Sales*St
 171                      ore_name=factorysalesstore&_oac=1&_trksid=p4429486.m
              ore
                                               3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=origin_1274&store_
       Fashion*Factory*
 172                      name=fashionfactoryshop&_oac=1&_trksid=p4429486.m35
             Shop
                                                 61.l161211
                          https://www.ebay.com/sch/i.html?_ssn=jiny_4924&store_na
 173      jiny_4924
                           me=jiny4924&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=mifitu&store_name=
 174        mifitu
                               mifitu&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=newlife1848&store_
 175     newlife1848      name=newlife1848&_oac=1&_trksid=p4429486.m3561.l16
                                                    1211
                          https://www.ebay.com/sch/i.html?_ssn=qazxc6&store_name
 176        qazxc6
                             =qazxc6&_oac=1&_trksid=p4429486.m3561.l161211

                          https://www.ebay.com/sch/i.html?_ssn=rebern&store_name=
 177        rebern
                               rebern&_oac=1&_trksid=p4429486.m3561.l161211
                          https://www.ebay.com/sch/i.html?_ssn=shwa520109&store_
 178     shwa520109       name=shwa520109&_oac=1&_trksid=p4429486.m3561.l16
                                                    1211
                          https://www.ebay.com/sch/i.html?_ssn=zhongguo7&store_n
       Top*Fashion*Sto
 179                      ame=womenstore&_oac=1&_trksid=p4429486.m3561.l1612
             re
                                                      11
                          https://www.ebay.com/sch/i.html?_ssn=wuying130&store_n
 180      wuying130       ame=wuying130&_oac=1&_trksid=p4429486.m3561.l1612
                                                      11
                          https://www.ebay.com/sch/i.html?_ssn=yananlssqian&store_
 181     yananlssqian     name=yananlssqian&_oac=1&_trksid=p4429486.m3561.l16
                                                    1211



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 No.     Seller's Name                    Link to Seller's Webpage

                           https://www.ebay.com/sch/i.html?_ssn=zhan_8077&store_n
 182    zhan_8077 shop     ame=zhan8077shop&_oac=1&_trksid=p4429486.m3561.l16
                                                     1211
                           https://www.ebay.com/sch/i.html?_ssn=ainnee35&store_na
 183       ainnee35
                           me=ainnee35&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?item=186249886040&rt=n
 184        crytall
                             c&_trksid=p4429486.m3561.l161211&_ssn=crytalldafan
                           https://www.ebay.com/sch/i.html?_ssn=dafanch_46&store_n
 185      dafanch_46       ame=dafanch46&_oac=1&_trksid=p4429486.m3561.l16121
                                                       1
        Easisim Official
 186                               https://www.ebay.com.my/str/easisimbaby
            Online

                           https://www.ebay.com/sch/i.html?_ssn=gaochu82&store_na
 187       gaochu82
                           me=gaochu82&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?_ssn=givend&store_name
 188        givend
                              =givend&_oac=1&_trksid=p4429486.m3561.l161211


 189      haiwendey                https://www.ebay.com/itm/285225321058

                           https://www.ebay.com/sch/i.html?_ssn=huanliu369&store_n
 190      huanliu369       ame=huanliu369&_oac=1&_trksid=p4429486.m3561.l1612
                                                      11
                           https://www.ebay.com/sch/i.html?_ssn=kafeng66&store_na
 191       kafeng66
                           me=kafeng66&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?_ssn=kfjbrq33&store_nam
 192          kfjb
                               e=kfjb&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?_ssn=lovesh159&store_na
 193      lovesh159
                           me=lovesh159&_oac=1&_trksid=p4429486.m3561.l161211

                           https://www.ebay.com/sch/i.html?_ssn=lvllan1989&store_na
 194      lvllan1989
                           me=lvllan1989&_oac=1&_trksid=p4429486.m3561.l161211




                                         22
Case: 1:24-cv-01689 Document #: 42 Filed: 08/28/24 Page 23 of 38 PageID #:1225




 No.     Seller's Name                  Link to Seller's Webpage

                         https://www.ebay.com/sch/i.html?_ssn=mingsun*&store_na
 195      mingsun123     me=mingsun123&_oac=1&_trksid=p4429486.m3561.l1612
                                                    11
                         https://www.ebay.com/sch/i.html?item=385729928403&rt=n
 196       ochilight
                             c&_trksid=p4429486.m3561.l161211&_ssn=ochilight

                         https://www.ebay.com/sch/i.html?_ssn=panfaster&store_na
 197       Panfaster
                         me=panfaster&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=qiluxing2019&store
 198     qiluxing2019    _name=mtbcyclingjerseyshop&_oac=1&_trksid=p4429486.
                                             m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=clearlove&store_na
 199        Scktoo
                          me=scktoo&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=scktoo&store_name
 200     scktoo_Baby
                          =scktoobaby&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=serret8888&store_na
 201      serret8888
                         me=serret8888&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=showma_46&store_
 202      showma_46      name=showma46&_oac=1&_trksid=p4429486.m3561.l1612
                                                    11
                         https://www.ebay.com/sch/i.html?_ssn=qitds2019&store_na
 203     Summer2020
                         me=qitds2019&_oac=1&_trksid=p4429486.m3561.l161211
                         https://www.ebay.com/sch/i.html?_ssn=sunny278311&store
 204     sunny278311     _name=sunny278311&_oac=1&_trksid=p4429486.m3561.l1
                                                    61211
                                 https://www.ebay.com/sch/i.html?_ssn=tarzan-
 205       tarzan-4      4&store_name=tarzan4&_oac=1&_trksid=p4429486.m3561.
                                                   l161211
                         https://www.ebay.com/sch/i.html?_ssn=yoloday&store_nam
 206       Yoloday
                           e=yoloday&_oac=1&_trksid=p4429486.m3561.l161211

                         https://www.ebay.com/sch/i.html?_ssn=zhan8432&store_na
 207       zhan8432
                         me=zhan8432&_oac=1&_trksid=p4429486.m3561.l161211




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 No.       Seller's Name                          Link to Seller's Webpage


                                https://www.ebay.com/sch/i.html?_ssn=zjz145&store_name
 208          zjz145
                                   =zjz145&_oac=1&_trksid=p4429486.m3561.l161211


Defendant
   No.        Seller’s Name                          Link to Seller’s Website
                                   https://www.temu.com/aaa-size-m-
                                   634418211412407.html?goods_id=601099529475896&refer_page_name=goods&
       1          AAASIZE
                                   refer_page_id=10032_1707645782856_wqzp1xyugy&refer_page_sn=10032&_x_
                                   sessn_id=sp5hb3si7p
                                   https://www.temu.com/about-womens-clothing-m-
                                   117493024949.html?goods_id=601099519570693&refer_page_name=goods&refe
       2     Aboutwomensclothing
                                   r_page_id=10032_1707292176916_z2etz1c19k&refer_page_sn=10032&_x_sessn
                                   _id=n7plxdspy2
                                   https://www.temu.com/aetosk-m-
                                   116424448411.html?goods_id=601099531933379&refer_page_name=goods&refe
       3          AETOSK
                                   r_page_id=10032_1707645026536_vrbbm7qdb4&refer_page_sn=10032&_x_sess
                                   n_id=sx580cqzbb
                                   https://www.temu.com/ailisa-m-
                                   634418212390180.html?goods_id=601099535766517&sticky_type=1&_x_sessn_
       4           AILISA
                                   id=fqqfqe08en&refer_page_name=goods&refer_page_id=10032_1707645215221
                                   _b2cag3ipp9&refer_page_sn=10032
                                   https://www.temu.com/tong-yong-clothing-m-
                                   634418212072584.html?goods_id=601099532619776&refer_page_name=goods&
       5           Aimanli
                                   refer_page_id=10032_1707634989303_dktogi9w10&refer_page_sn=10032&_x_s
                                   essn_id=khvn1u91nu
                                   https://www.temu.com/alvy-julia-m-
                                   134683327589.html?goods_id=601099525961790&refer_page_name=goods&refe
       6        ALVYJULIA
                                   r_page_id=10032_1707645741881_d6h73r9xgc&refer_page_sn=10032&_x_sessn
                                   _id=h6jj1phv5j
                                   https://www.temu.com/amy-and-mia-m-
                                   300257410802.html?goods_id=601099523719537&refer_page_name=goods&refe
       7         AmyandMia
                                   r_page_id=10032_1707646775634_ivply6xp3j&refer_page_sn=10032&_x_sessn
                                   _id=6y9408ork6
                                   https://www.temu.com/angel-amelie-m-
                                   3427711142723.html?goods_id=601099525992915&refer_page_name=goods&re
       8        Angel Amelie
                                   fer_page_id=10032_1707928802597_7hz0ivhkc8&refer_page_sn=10032&_x_ses
                                   sn_id=ysaqm8ftx2
                                   https://www.temu.com/angel-closet-m-
                                   4880806412456.html?goods_id=601099533733997&refer_page_name=goods&re
       9         Angelcloset
                                   fer_page_id=10032_1707646607303_tsbkougxn3&refer_page_sn=10032&_x_ses
                                   sn_id=e53dzp0gn1
                                   https://www.temu.com/an-inch-of-light-m-
                                   5244636459785.html?goods_id=601099525733268&refer_page_name=goods&re
    10          Aninchoflight
                                   fer_page_id=10032_1707343042082_cafnxoq129&refer_page_sn=10032&_x_ses
                                   sn_id=ymob75x4vx

    11             Aoyuo           https://www.temu.com/aoyuo-m-
                                   634418211782315.html?goods_id=601099529595969&refer_page_name=goods&



                                                24
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                                  refer_page_id=10032_1707635290463_9c4ia08cuf&refer_page_sn=10032&_x_se
                                  ssn_id=amkqj3t95t
                                  https://www.temu.com/as-a-painter-m-
                                  5739919072857.html?goods_id=601099524624759&refer_page_name=goods&re
    12       AS A PAINTER
                                  fer_page_id=10032_1707635415061_1dnd1ypogl&refer_page_sn=10032&_x_ses
                                  sn_id=z7hdjx12lk
                                  https://www.temu.com/attachedto-m-
                                  634418211614001.html?goods_id=601099532100439&refer_page_name=goods&
    13          attachedto
                                  refer_page_id=10032_1707646106142_y601zhzge1&refer_page_sn=10032&_x_s
                                  essn_id=ace79jh943
                                  https://www.temu.com/attireart-m-
                                  634418211492875.html?goods_id=601099534070736&refer_page_name=goods&
    14           AttireArt
                                  refer_page_id=10032_1707635522448_6qmghah1bc&refer_page_sn=10032&_x_
                                  sessn_id=pd38u597ih
                                  https://www.temu.com/aybeautyfashion-m-
                                  4499667300773.html?goods_id=601099518322548&refer_page_name=goods&re
    15       AYBeautyfashion
                                  fer_page_id=10032_1707635642729_01lfu8sfii&refer_page_sn=10032&_x_sessn
                                  _id=dikreeyfbp
                                  https://www.temu.com/behappy-m-
                                  634418211093281.html?goods_id=601099531382681&refer_page_name=goods&
    16           behappy
                                  refer_page_id=10032_1707633617474_m6npok1gft&refer_page_sn=10032&_x_s
                                  essn_id=625mwxtj8m
                                  https://www.temu.com/bella-mode-m-
                                  634418211202009.html?goods_id=601099528642149&refer_page_name=goods&
    17          Bella Mode
                                  refer_page_id=10032_1707626512294_xhhdxlo39q&refer_page_sn=10032&_x_s
                                  essn_id=e31yom7nyw
                                  https://www.temu.com/bestie-curvy-m-
                                  634418211793903.html?goods_id=601099531984703&refer_page_name=goods&
    18         Bestie Curvy
                                  refer_page_id=10032_1707633810662_do3c7y2izl&refer_page_sn=10032&_x_se
                                  ssn_id=5aeugpyyum
                                  https://www.temu.com/bird-fashion-clothing-m-
                                  1720489990037.html?goods_id=601099522058535&refer_page_name=goods&re
    19      Birdfashionclothing
                                  fer_page_id=10032_1707535180505_dtu6bkz0sx&refer_page_sn=10032&_x_ses
                                  sn_id=0vdowyf2r7
                                  https://www.temu.com/sizhe-womens-clothing-m-
                                  634418209993113.html?goods_id=601099523466867&refer_page_name=goods&
    20         BM Fashion
                                  refer_page_id=10032_1707296603050_ufo0xzh4s4&refer_page_sn=10032&_x_s
                                  essn_id=3r0ylikdb0
                                  https://www.temu.com/cbs-m-
                                  634418210070923.html?goods_id=601099528836105&refer_page_name=goods&
    21             CBS
                                  refer_page_id=10032_1707592291463_hq8uzy98fh&refer_page_sn=10032&_x_s
                                  essn_id=hzpmytn4v2
                                  https://www.temu.com/charm-clothes-dress-m-
                                  5686361796687.html?goods_id=601099526284609&refer_page_name=goods&re
    22      Charm Clothes dress
                                  fer_page_id=10032_1707625614799_j93dwidv0z&refer_page_sn=10032&_x_ses
                                  sn_id=xsxjf58d23
                                  https://www.temu.com/chen-xun-fu-shi-m-
                                  634418211514952.html?goods_id=601099525652453&refer_page_name=goods&
    23        Chen xun fu shi
                                  refer_page_id=10032_1707636250142_ing2gybli2&refer_page_sn=10032&_x_se
                                  ssn_id=6uvp7fvd3m
                                  https://www.temu.com/cjycyy-m-
                                  634418212321079.html?goods_id=601099540672277&refer_page_name=goods&
    24           CJYCYY
                                  refer_page_id=10032_1707627959626_04qzo1g8el&refer_page_sn=10032&_x_s
                                  essn_id=9uh19clhpv




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                                  https://www.temu.com/clothesssssssss-m-
                                  634418210983129.html?goods_id=601099521197944&refer_page_name=goods&
    25        clothesssssssss
                                  refer_page_id=10032_1707636453790_imaucmujgd&refer_page_sn=10032&_x_
                                  sessn_id=2vt33ks6a4
                                  https://www.temu.com/clothing-beauty-m-
                                  244435390978.html?goods_id=601099528396873&refer_page_name=goods&refe
    26       Clothing Beauty
                                  r_page_id=10032_1707544312624_sap1zyua6t&refer_page_sn=10032&_x_sessn
                                  _id=dfq64kfv3c
                                  https://www.temu.com/cocomy-m-
                                  4200431158381.html?goods_id=601099535052450&refer_page_name=goods&re
    27           cocomy
                                  fer_page_id=10032_1707643150163_hchferxf9r&refer_page_sn=10032&_x_sess
                                  n_id=x0k839x0jh
                                  https://www.temu.com/curvy-m-
                                  146281689671.html?goods_id=601099519511877&refer_page_name=goods&refe
    28            Curvy
                                  r_page_id=10032_1707292745223_qzu3xiobwg&refer_page_sn=10032&_x_sess
                                  n_id=jppa1yynpf
                                  https://www.temu.com/curvy-m-
                                  146281689671.html?goods_id=601099519511877&refer_page_name=goods&refe
    29      CurvyChicBoutique
                                  r_page_id=10032_1707292745223_qzu3xiobwg&refer_page_sn=10032&_x_sess
                                  n_id=jppa1yynpf
                                  https://www.temu.com/cy-fashion-m-
                                  70501117270.html?goods_id=601099516597149&refer_page_name=goods&refer
    30         CYFashion
                                  _page_id=10032_1707640751940_80xmnnhvm8&refer_page_sn=10032&_x_sess
                                  n_id=cv81copzkc
                                  https://www.temu.com/daiyiou-clothing-m-
                                  634418212672731.html?goods_id=601099537281689&refer_page_name=goods&
    31       Daiyiou Clothing
                                  refer_page_id=10032_1707644793360_3pszxm6q8p&refer_page_sn=10032&_x_
                                  sessn_id=xjzdcct88u
                                  https://www.temu.com/danlier-m-
                                  634418212185931.html?goods_id=601099533700748&refer_page_name=goods&
    32           Danlier
                                  refer_page_id=10032_1707643706954_atf2zp24og&refer_page_sn=10032&_x_se
                                  ssn_id=2wc5mzp76q
                                  https://www.temu.com/denas-m-
                                  37128591008.html?goods_id=601099512076085&refer_page_name=goods&refer
    33       DennisClothing
                                  _page_id=10032_1707632555893_woemo9xowm&refer_page_sn=10032&_x_ses
                                  sn_id=6r37fo7fax
                                  https://www.temu.com/dimai-m-
                                  634418211319903.html?goods_id=601099524283063&refer_page_name=goods&
    34            dimai
                                  refer_page_id=10032_1707644048046_kwgl5ezqsn&refer_page_sn=10032&_x_s
                                  essn_id=embm2xgvha
                                  https://www.temu.com/dqi-m-
                                  10861634979.html?goods_id=601099530280701&refer_page_name=goods&refer
    35             Dqi
                                  _page_id=10032_1707535092489_03xr60pbqu&refer_page_sn=10032&_x_sessn
                                  _id=u9zi18hmr0
                                  https://www.temu.com/elegant-and-stylish-plus-size-m-
            Elegant and stylish   4991429014797.html?goods_id=601099518728460&_x_sessn_id=kmddu0dq3j&r
    36
                 plus size        efer_page_name=goods&refer_page_id=10032_1707632811664_56jw57ygev&re
                                  fer_page_sn=10032
                                  https://www.temu.com/eu-wave-vanlov-m-
                                  199090618987.html?goods_id=601099525838433&refer_page_name=goods&refe
    37      Eu wave VANLOV
                                  r_page_id=10032_1707641453114_atofn66aew&refer_page_sn=10032&_x_sessn
                                  _id=2ulfmo1c0m

    38           EVFVB            https://www.temu.com/evfvb-m-
                                  6208020471618.html?goods_id=601099525176224&refer_page_name=goods&re




                                               26
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                                  fer_page_id=10032_1707641576394_57up7u563y&refer_page_sn=10032&_x_se
                                  ssn_id=xm91pj39w9



                                  https://www.temu.com/extra-m-
                                  51475333049.html?goods_id=601099515053650&refer_page_name=goods&refer
    39           EXTRA
                                  _page_id=10032_1707625218930_y37mz6rsfz&refer_page_sn=10032&_x_sessn
                                  _id=f8exz4150x
                                  https://www.temu.com/fairyfair-m-
                                  634418211321243.html?goods_id=601099525766528&refer_page_name=goods&
    40         FAIRYFAIR
                                  refer_page_id=10032_1707592367799_ucf6sqlipn&refer_page_sn=10032&_x_se
                                  ssn_id=nu7j952myj
                                  https://www.temu.com/fanala-m-
                                  4369635687830.html?goods_id=601099520881572&refer_page_name=goods&re
    41           FaNaLa
                                  fer_page_id=10032_1707635856045_eykxl6lcdg&refer_page_sn=10032&_x_sess
                                  n_id=20zmc5u7r8
                                  https://www.temu.com/fashion-trend-womens-clothing-m-
           Fashion trend womens   634418212064133.html?goods_id=601099539741716&refer_page_name=goods&
    42
                 clothing         refer_page_id=10032_1707632962901_odywjaj106&refer_page_sn=10032&_x_s
                                  essn_id=fpanp3zs2e
                                  https://www.temu.com/fioreiia-m-
                                  4038940713357.html?goods_id=601099533901824&refer_page_name=goods&re
    43           Fioreiia
                                  fer_page_id=10032_1707627134450_bfryk7avkq&refer_page_sn=10032&_x_ses
                                  sn_id=ndikpq3hyk
                                  https://www.temu.com/fashionable-plus-size-m-
                                  634418211480954.html?goods_id=601099525497808&refer_page_name=goods&
    44          FridayGirl
                                  refer_page_id=10032_1707636192132_6zvtx34kay&refer_page_sn=10032&_x_s
                                  essn_id=zdsx3n5k9c
                                  https://www.temu.com/goods_snapshot.html?goods_id=601099520042879&title=
    45        Fu Yue studio       Details&refer_page_name=goods&refer_page_id=10032_1707646807286_kcwiqj
                                  yo8z&refer_page_sn=10032&_x_sessn_id=5hw28ia58s
                                  https://www.temu.com/gong-nian-big-size-m-
                                  4881098213323.html?goods_id=601099529136805&refer_page_name=goods&re
    46      GongNianBigSize
                                  fer_page_id=10032_1707544691561_nay1hm0igq&refer_page_sn=10032&_x_se
                                  ssn_id=z2c4jqom8p
                                  https://www.temu.com/hermigos-m-
                                  291230878907.html?goods_id=601099533670237&refer_page_name=goods&refe
    47          Hermigos
                                  r_page_id=10032_1707593366904_ph4ygpoq8a&refer_page_sn=10032&_x_sess
                                  n_id=zvno4qlnhx
                                  https://www.temu.com/huajinf-m-
                                  5994777432664.html?goods_id=601099525968662&refer_page_name=goods&re
                                  fer_page_id=10032_1707621322258_9zup9womlg&refer_page_sn=10032&_x_se
    48          HUAJINF           ssn_id=1jzppck7ie



                                  https://www.temu.com/huangsibian-m-
                                  634418210685601.html?goods_id=601099520469973&refer_page_name=goods&
    49         Huangsibian
                                  refer_page_id=10032_1707622757063_5fx41u6a71&refer_page_sn=10032&_x_s
                                  essn_id=zvmnv9ehe4
                                  https://www.temu.com/hx-ladies-fashion-m-
                                  634418211073557.html?goods_id=601099527387092&refer_page_name=goods&
    50      HX Ladies Fashion
                                  refer_page_id=10032_1707593761344_z942r4keem&refer_page_sn=10032&_x_s
                                  essn_id=6aht5uoqyq




                                                27
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                                https://www.temu.com/vivifashion-m-
                                141045139085.html?goods_id=601099536828244&refer_page_name=goods&refe
    51         viviFashion
                                r_page_id=10032_1707600690360_7s2di57z3j&refer_page_sn=10032&_x_sessn
                                _id=pregiva0fz
                                https://www.temu.com/jiayingfushi-m-
                                4887687876026.html?goods_id=601099522461755&refer_page_name=goods&re
    52         jiayingfushi
                                fer_page_id=10032_1707642376894_mk1y6m0o64&refer_page_sn=10032&_x_s
                                essn_id=trz0orpt42
                                https://www.temu.com/jingaochi-garment-m-
              JINGAOCHI         4920528197538.html?goods_id=601099517731388&refer_page_name=goods&re
    53
              GARMENT           fer_page_id=10032_1707613873830_w6dc5jdwl2&refer_page_sn=10032&_x_se
                                ssn_id=6gyrvg2yaj
                                https://www.temu.com/kale-girl-m-
                                634418211637580.html?goods_id=601099537706717&refer_page_name=goods&
    54           kalegirl
                                refer_page_id=10032_1707267678169_iy2oxgzyt3&refer_page_sn=10032&_x_se
                                ssn_id=zo7yq5vcuf
                                https://www.temu.com/kaqiwa-m-
                                634418211452054.html?goods_id=601099528097562&refer_page_name=goods&
    55           Kaqiwa
                                refer_page_id=10032_1707619533850_6j5watrtn7&refer_page_sn=10032&_x_se
                                ssn_id=0aj4ja4752
                                https://www.temu.com/ka-yi-mei-m-
            KE YI MEI fashion   634418210719434.html?goods_id=601099534550481&refer_page_name=goods&
    56
                clothing        refer_page_id=10032_1707642574649_de6r09xvmm&refer_page_sn=10032&_x_
                                sessn_id=x5v5fj7v9o
                                https://www.temu.com/leisure-trends-m-
                                4652203598892.html?goods_id=601099533562411&refer_page_name=goods&re
    57      LEISURE TRENDS
                                fer_page_id=10032_1707623102717_dx3kafqjt2&refer_page_sn=10032&_x_sess
                                n_id=1rggu46ft9
                                https://www.temu.com/liumm-m-
                                5602586604059.html?goods_id=601099533936564&refer_page_name=goods&re
    58           LIUMM
                                fer_page_id=10032_1707642802114_4rrq17h4xl&refer_page_sn=10032&_x_sess
                                n_id=h753crbm6y
                                https://www.temu.com/lucklily-m-
                                5419829820946.html?goods_id=601099527345808&refer_page_name=goods&re
    59         LUCKLILY
                                fer_page_id=10032_1707621673682_kf731d0o7l&refer_page_sn=10032&_x_ses
                                sn_id=apaojd81um
                                https://www.temu.com/mid-and-old-life-m-
                                4933334847472.html?goods_id=601099521731018&refer_page_name=goods&re
    60       MidandOldLife
                                fer_page_id=10032_1707297063065_to5flj08di&refer_page_sn=10032&_x_sessn
                                _id=akwce8w7g7
                                https://www.temu.com/mini-fox-ladies-m-
                                8459562903.html?goods_id=601099532517426&refer_page_name=goods&refer_
    61        Mini fox ladies
                                page_id=10032_1707267813939_1bi78bpxuq&refer_page_sn=10032&_x_sessn_i
                                d=rguftr1r1r
                                https://www.temu.com/mgns-m-
                                221222694131.html?goods_id=601099532280063&refer_page_name=goods&refe
    62        MNSPLusSize
                                r_page_id=10032_1707267246178_yxu5hq9lv4&refer_page_sn=10032&_x_sessn
                                _id=uixoyc67r9
                                https://www.temu.com/be-not-of-the-common-sort-m-
                                5562640434652.html?goods_id=601099539552986&refer_page_name=goods&re
    63       More Fortunately
                                fer_page_id=10032_1707625909410_v3b34k6o9w&refer_page_sn=10032&_x_se
                                ssn_id=9mekb35440

    64        MUSHANGNI         https://www.temu.com/mu-shang-ni-m-
                                657564779675.html?goods_id=601099530503279&sticky_type=1&_x_sessn_id=j




                                             28
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                                  qp9c1ksjn&refer_page_name=goods&refer_page_id=10032_1707610517764_253
                                  kpqub5r&refer_page_sn=10032
                                  https://www.temu.com/nantianfushi-m-
                                  634418211060220.html?goods_id=601099525646158&refer_page_name=goods&
    65         nantianfushi
                                  refer_page_id=10032_1707611209623_zmmefnr4a8&refer_page_sn=10032&_x_
                                  sessn_id=0xlshraahi
                                  https://www.temu.com/nimanya-m-
                                  38015328411.html?goods_id=601099526127423&refer_page_name=goods&refer
    66          Nimanya
                                  _page_id=10032_1707342009009_ezk8cu8vkr&refer_page_sn=10032&_x_sessn
                                  _id=ora0z9p1u1
                                  https://www.temu.com/norman-womens-clothing-m-
             Norman womens        634418211295490.html?goods_id=601099528530283&refer_page_name=goods&
    67
                clothing          refer_page_id=10032_1707612390137_ojzp7v9rqs&refer_page_sn=10032&_x_se
                                  ssn_id=vyqenmjorr
                                  https://www.temu.com/ouzinuo-m-
                                  634418212249416.html?goods_id=601099538577674&sticky_type=1&_x_sessn_
    68         OUZINUO
                                  id=7pfg6rpi2r&refer_page_name=goods&refer_page_id=10032_1707613986043_
                                  cy52pz8qwh&refer_page_sn=10032
                                  https://www.temu.com/pengwang-m-
                                  634418211898161.html?goods_id=601099529430295&refer_page_name=goods&
    69        PENGWANG
                                  refer_page_id=10032_1707643193627_q4i3eibuva&refer_page_sn=10032&_x_se
                                  ssn_id=2sdzv95k3t
                                  https://www.temu.com/qkwomens-clothing-m-
                                  634418211845330.html?goods_id=601099531166782&refer_page_name=goods&
    70      QKWomens clothing
                                  refer_page_id=10032_1707643279967_sktsahz4qf&refer_page_sn=10032&_x_se
                                  ssn_id=7lbhtjncyx
                                  https://www.temu.com/rice-collar-m-
                                  634418211853896.html?goods_id=601099529923166&_x_sessn_id=slfbm87wn3
    71          Ricecollar
                                  &refer_page_name=goods&refer_page_id=10032_1707968300341_fyolv3jqbi&r
                                  efer_page_sn=10032
                                  https://www.temu.com/sallyshaman-m-
                                  66907202117.html?goods_id=601099515230478&refer_page_name=goods&refer
    72         SallyShaman
                                  _page_id=10032_1707297536816_vs78uviovy&refer_page_sn=10032&_x_sessn
                                  _id=2e98fmopvy
                                  https://www.temu.com/shiber-m-
                                  634418209633437.html?goods_id=601099527655022&refer_page_name=goods&
    73           Shiber
                                  refer_page_id=10032_1707622906331_dumcbtj1ti&refer_page_sn=10032&_x_se
                                  ssn_id=ehdc3pq1ch
                                  https://www.temu.com/shiju-m-
                                  634418210696248.html?goods_id=601099532671457&refer_page_name=goods&
    74            ShiJu
                                  refer_page_id=10032_1707623006865_j7fz9srhi6&refer_page_sn=10032&_x_ses
                                  sn_id=u37j964gf5
                                  https://www.temu.com/skytrade-m-
                                  5704607539673.html?goods_id=601099529574821&refer_page_name=goods&re
    75          SkyTrade
                                  fer_page_id=10032_1707299016934_s7bora8peo&refer_page_sn=10032&_x_ses
                                  sn_id=kbcgqmnal8
                                  https://www.temu.com/-m-
                                  4718387220673.html?goods_id=601099516614630&refer_page_name=goods&re
    76       SZCHENHONG
                                  fer_page_id=10032_1707285892625_wiu7mxusmh&refer_page_sn=10032&_x_s
                                  essn_id=t5w0lvg37f
                                  https://www.temu.com/taipingyang-clothing-trade-m-
           Taipingyang clothing   5517776517295.html?goods_id=601099528632257&refer_page_name=goods&re
    77
                  trade           fer_page_id=10032_1707614778608_tf9ss1ofcf&refer_page_sn=10032&_x_sessn
                                  _id=sgxbt0dvnu




                                               29
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                              https://www.temu.com/tomlover-m-
                              634418211532767.html?goods_id=601099532664003&refer_page_name=goods&
                              refer_page_id=10032_1707615249706_s941yturpv&refer_page_sn=10032&_x_se
    78          tomlover      ssn_id=vfdc34ya0m



                              https://www.temu.com/twfu-m-
                              634418210312468.html?goods_id=601099519309757&refer_page_name=goods&
    79           TWFU
                              refer_page_id=10032_1707619170715_upr1km34hu&refer_page_sn=10032&_x_
                              sessn_id=7dyeojox64
                              https://www.temu.com/weeksix-m-
                              634418211982972.html?goods_id=601099531829256&_x_sessn_id=acpvdcso3q
    80          Weeksix
                              &refer_page_name=goods&refer_page_id=10032_1707600746662_hk51zt68x4&
                              refer_page_sn=10032
                              https://www.temu.com/weilala-m-
                              634418211513021.html?goods_id=601099525278840&refer_page_name=goods&
    81          weilala
                              refer_page_id=10032_1707286278002_3mb2tzgvql&refer_page_sn=10032&_x_s
                              essn_id=vmbc5cd8bp
                              https://www.temu.com/weinimeigongsi-m-
                              634418210064916.html?goods_id=601099525979751&refer_page_name=goods&
    82       Weinimeigongsi
                              refer_page_id=10032_1707286645948_hsmm7myr66&refer_page_sn=10032&_x
                              _sessn_id=p7g0czvu3w
                              https://www.temu.com/wenyifans-m-
                              634418210916539.html?goods_id=601099525639944&refer_page_name=goods&
    83        WENYIFANS
                              refer_page_id=10032_1707290860409_dwp27is6b4&refer_page_sn=10032&_x_s
                              essn_id=cbwknfik2g
                              https://www.temu.com/wildflower-m-
                              634418212454604.html?goods_id=601099540297267&sticky_type=1&_x_sessn_
    84         Wildflower
                              id=yfz1rrnc8d&refer_page_name=goods&refer_page_id=10032_1707342551322
                              _llln7fdk2g&refer_page_sn=10032
                              https://www.temu.com/xhp-m-
    85           XHP          701079233729.html?refer_page_name=mall&refer_page_id=10040_17072587059
                              36_e24f6o7j4y&refer_page_sn=10040&_x_sessn_id=48kwvftmip
                              https://www.temu.com/xin-mingyuan-m-
                              4605176695000.html?goods_id=601099514285912&refer_page_name=goods&re
    86        XinMingyuan
                              fer_page_id=10032_1707612698866_j4c2r7k6im&refer_page_sn=10032&_x_ses
                              sn_id=85jpkk79i5
                              https://www.temu.com/xingmuzhi-m-
                              280996421172.html?goods_id=601099536231493&refer_page_name=goods&refe
                              r_page_id=10032_1707593903784_vc1ksl8jol&refer_page_sn=10032&_x_sessn_
    87        XINGMUZHI       id=vlugzf4jgt



                              https://www.temu.com/yihuimei-m-
                              5515939082246.html?goods_id=601099533777808&refer_page_name=goods&re
    88          Yihuimei
                              fer_page_id=10032_1707621916097_tgnikidcvb&refer_page_sn=10032&_x_sess
                              n_id=v76eu2n9b8
                              https://www.temu.com/yikaman-m-
                              5858450727404.html?goods_id=601099533615365&refer_page_name=goods&re
    89        YIKAMAN
                              fer_page_id=10032_1707268240794_26wzril3q6&refer_page_sn=10032&_x_ses
                              sn_id=hko1645h2t

    90          YiKeEr        https://www.temu.com/yikeer-m-
                              5551152898010.html?goods_id=601099526992914&refer_page_name=goods&re




                                           30
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                                  fer_page_id=10032_1707622507477_ykv7v136cb&refer_page_sn=10032&_x_se
                                  ssn_id=rv6a2sq0q5
                                  https://www.temu.com/yimi-le-clothing-m-
                                  4837796854682.html?goods_id=601099516177764&refer_page_name=goods&re
    91       Yimi Le Clothing
                                  fer_page_id=10032_1707613255817_1w3qnh09f4&refer_page_sn=10032&_x_se
                                  ssn_id=9uk0faxfp0
                                  https://www.temu.com/yishang-type-m-
                                  6062461066303.html?goods_id=601099529225430&refer_page_name=goods&re
    92         Yishangtype
                                  fer_page_id=10032_1707622847406_t1ovvokpuq&refer_page_sn=10032&_x_ses
                                  sn_id=n107dj8vyc
                                  https://www.temu.com/koijo-m-
                                  246966679575.html?goods_id=601099526978987&refer_page_name=goods&refe
    93            YMPL
                                  r_page_id=10032_1707634282862_o9nyeb8581&refer_page_sn=10032&_x_sess
                                  n_id=4zoem0z91b
                                  https://www.temu.com/ym-wardrobe-m-
                                  5700897746547.html?goods_id=601099531231967&refer_page_name=goods&re
    94         YMwardrobe
                                  fer_page_id=10032_1707285692799_d160usufkg&refer_page_sn=10032&_x_ses
                                  sn_id=97dfgu4ya1
                                  https://www.temu.com/yqj-m-
                                  634418210495596.html?goods_id=601099531229997&refer_page_name=goods&
    95             YQJ
                                  refer_page_id=10032_1707613607356_yqonfrjqz6&refer_page_sn=10032&_x_se
                                  ssn_id=arlplran9y
                                  https://www.temu.com/yujiafushi-m-
                                  5001086949042.html?goods_id=601099526482080&refer_page_name=goods&re
    96          YU closet
                                  fer_page_id=10032_1708014562895_rphb3y648l&refer_page_sn=10032&_x_ses
                                  sn_id=zroyzv2nsj
                                  https://www.temu.com/yu-closet-m-
                                  634418211883875.html?goods_id=601099529332859&refer_page_name=goods&
                                  refer_page_id=10032_1707623330698_kihzbp7sc1&refer_page_sn=10032&_x_s
    97        YUJIAFUSHI          essn_id=rup2l2ei1m



                                  https://www.temu.com/yunxingda-large-size-m-
                                  634418211680706.html?goods_id=601099527082644&refer_page_name=goods&
    98     YunXingDa Large size
                                  refer_page_id=10032_1707613713729_43i3c2g26d&refer_page_sn=10032&_x_s
                                  essn_id=ubams2pqtj
                                  https://www.temu.com/zame-m-
                                  39537585674.html?goods_id=601099533443653&refer_page_name=goods&refer
    99            zame
                                  _page_id=10032_1707342325429_r1e0xhqyt4&refer_page_sn=10032&_x_sessn_
                                  id=u5sqkxb2d0
                                  https://www.temu.com/aixia-m-
                                  634418211222545.html?goods_id=601099527061326&refer_page_name=goods&
   100            Aixia
                                  refer_page_id=10032_1707645440506_5cf20ocaor&refer_page_sn=10032&_x_se
                                  ssn_id=6rsd2wjxlm
                                  https://www.temu.com/basicfit-m-
                                  6097838052866.html?goods_id=601099537531270&refer_page_name=goods&re
   101           Basicfit
                                  fer_page_id=10032_1707534999572_0f2i5l5pav&refer_page_sn=10032&_x_sess
                                  n_id=of0e1mwnqq
                                  https://www.temu.com/beimifushi-m-
                                  4868068335702.html?goods_id=601099525417524&refer_page_name=goods&re
   102          beimifushi
                                  fer_page_id=10032_1707634483765_6h1nif4c2c&refer_page_sn=10032&_x_sess
                                  n_id=wtu0y98ju0

   103      BoutiqueLargeSize     https://www.temu.com/boutique-large-size-m-
                                  236648169313.html?goods_id=601099524045555&refer_page_name=goods&refe




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                                 r_page_id=10032_1707545830860_vjc827y9hc&refer_page_sn=10032&_x_sessn
                                 _id=a1nscze16d
                                 https://www.temu.com/coco-modern-m-
                                 234178238926.html?goods_id=601099518546418&sticky_type=1&_x_sessn_id=
   104        CoCo Modern
                                 xfhio5ifc5&refer_page_name=goods&refer_page_id=10032_1707634700899_ugq
                                 0dr4lnb&refer_page_sn=10032
                                 https://www.temu.com/coral-clothing-m-
                                 4945753884123.html?goods_id=601099529019653&refer_page_name=goods&re
   105        Coral clothing
                                 fer_page_id=10032_1707634926213_6nkfltp762&refer_page_sn=10032&_x_sess
                                 n_id=2ekzaq08lv
                                 https://www.temu.com/defzeal-m-
                                 233965839613.html?goods_id=601099521808762&refer_page_name=goods&refe
   106         DEFZEAL
                                 r_page_id=10032_1707266324459_c5k06dwlru&refer_page_sn=10032&_x_sessn
                                 _id=slhqkei3ns
                                 https://www.temu.com/denas-m-
                                 37128591008.html?goods_id=601099512076085&refer_page_name=goods&refer
   107           Denas           _page_id=10032_1707968816777_8gbe8n3wqf&refer_page_sn=10032&_x_sessn
                                 _id=gdctspjj0i


                                 https://www.temu.com/dneater-swimsuit-m-
           DNEATERSWIMSUI        6216470821533.html?goods_id=601099524636223&refer_page_name=goods&re
   108
                 T               fer_page_id=10032_1707342816303_h008r838zi&refer_page_sn=10032&_x_ses
                                 sn_id=5lgqvm21mg
                                 https://www.temu.com/envemour-m-
                                 5551276406699.html?goods_id=601099517682089&refer_page_name=goods&re
   109        ENVEMOUR
                                 fer_page_id=10032_1707928065044_ns303ih7jf&refer_page_sn=10032&_x_sess
                                 n_id=gc801kkfxa
                                 https://www.temu.com/guangzhou-time-lane-clothing-m-
           Guangzhou Time Lane   5990889198678.html?goods_id=601099535325907&refer_page_name=goods&re
   110
                Clothing         fer_page_id=10032_1707636503045_jh9afgnyg6&refer_page_sn=10032&_x_ses
                                 sn_id=ke0zmqds22
                                 https://www.temu.com/haimengfushi-m-
                                 5113012791727.html?goods_id=601099524526983&refer_page_name=goods&re
   111      HAIMENGFUSHI
                                 fer_page_id=10032_1707291589804_o3f30spzgy&refer_page_sn=10032&_x_ses
                                 sn_id=4w8c7o47pu
                                 https://www.temu.com/haiyan-clothing-m-
                                 5310021745100.html?goods_id=601099526642469&refer_page_name=goods&re
   112       Haiyan clothing
                                 fer_page_id=10032_1707644183007_jhwki3nx3o&refer_page_sn=10032&_x_ses
                                 sn_id=2ywi50b6tt
                                 https://www.temu.com/haobofs-m-
                                 634418211295908.html?goods_id=601099525778264&refer_page_name=goods&
   113          HaoboFS
                                 refer_page_id=10032_1707644271870_geffn42c5f&refer_page_sn=10032&_x_se
                                 ssn_id=hyue4v2efd
                                 https://www.temu.com/kailinna-m-
                                 634418212156827.html?goods_id=601099531897981&refer_page_name=goods&
   114         KAILINNA
                                 refer_page_id=10032_1707291330153_lb8uihqowb&refer_page_sn=10032&_x_s
                                 essn_id=t7z3v45uzo
                                 https://www.temu.com/kongnilan-m-
                                 464399155033.html?goods_id=601099534295040&refer_page_name=goods&refe
   115          kongnilan
                                 r_page_id=10032_1707299288958_jesui7ibcu&refer_page_sn=10032&_x_sessn_
                                 id=0kg0qft7fp

   116         LAZEPLUS          https://www.temu.com/lazeplus-m-
                                 634418210623006.html?goods_id=601099523598920&refer_page_name=goods&




                                              32
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                                  refer_page_id=10032_1707267954621_59g25ca6xj&refer_page_sn=10032&_x_s
                                  essn_id=6fyn6rsltt
                                  https://www.temu.com/lilliana-m-
                                  3603370395412.html?goods_id=601099529853686&refer_page_name=goods&re
                                  fer_page_id=10032_1707635483531_rih7yj01n2&refer_page_sn=10032&_x_sess
   117           Lilliana         n_id=pet6jcg8m6



                                  https://www.temu.com/lingdalin-m-
                                  634418211502374.html?goods_id=601099534310396&_x_sessn_id=osfidavhfq&
   118        LINGDALIN
                                  refer_page_name=goods&refer_page_id=10032_1707967472796_2x32q0i995&re
                                  fer_page_sn=10032
                                  https://www.temu.com/mango-mall-m-
                                  634418211176794.html?goods_id=601099523278555&refer_page_name=goods&
   119         MangoMall
                                  refer_page_id=10032_1707623568846_atowm6n7sb&refer_page_sn=10032&_x_
                                  sessn_id=6sacjvgk2g
                                  https://www.temu.com/mgclothing-m-
                                  634418211375899.html?goods_id=601099527170505&refer_page_name=goods&
   120         MGclothing
                                  refer_page_id=10032_1707614138455_25i56vo3f8&refer_page_sn=10032&_x_s
                                  essn_id=8guyt60wy5
                                  https://www.temu.com/mileyy-m-
                                  5805392425727.html?goods_id=601099534906687&refer_page_name=goods&re
   121          mimotora
                                  fer_page_id=10032_1707593562654_a4lame218d&refer_page_sn=10032&_x_ses
                                  sn_id=k9gd1jpng5
                                  https://www.temu.com/missking-m-
                                  634418211207540.html?goods_id=601099531581951&refer_page_name=goods&
   122         MISSKING
                                  refer_page_id=10032_1707594059673_melvmh0uzz&refer_page_sn=10032&_x_
                                  sessn_id=lfbx1z7256
                                  https://www.temu.com/necoo-m-
                                  4915303824340.html?goods_id=601099534785482&_x_sessn_id=cisqolc0xo&ref
   123            Necoo
                                  er_page_name=goods&refer_page_id=10032_1707283604575_xjh7o1xqhc&refer
                                  _page_sn=10032
                                  https://www.temu.com/newspeed-m-
                                  4895750080846.html?goods_id=601099515953410&refer_page_name=goods&re
   124          Newspeed
                                  fer_page_id=10032_1707260208140_1xp4coahiv&refer_page_sn=10032&_x_ses
                                  sn_id=664qsmw7p5
                                  https://www.temu.com/ngan-m-
                                  6159760585886.html?goods_id=601099519295491&refer_page_name=goods&re
   125            Ngan
                                  fer_page_id=10032_1707265769372_3abmm48qqn&refer_page_sn=10032&_x_s
                                  essn_id=69uk95mty2
                                  https://www.temu.com/pickpink-swimwear-m-
                                  4473234358627.html?goods_id=601099524643689&refer_page_name=goods&re
   126      PickPink Swimwear
                                  fer_page_id=10032_1707268608950_olbw64mlup&refer_page_sn=10032&_x_se
                                  ssn_id=2wrqs1p140
                                  https://www.temu.com/plus-plus-m-
                                  4423587909696.html?goods_id=601099514052843&refer_page_name=goods&re
   127          Plus Plus
                                  fer_page_id=10032_1707265963319_adwartt31t&refer_page_sn=10032&_x_sess
                                  n_id=dd3m89ycui
                                  https://www.temu.com/plus-size-stephanie-m-
                                  5324797366747.html?goods_id=601099523002080&refer_page_name=goods&re
   128      Plus size Stephanie
                                  fer_page_id=10032_1707615196880_4fjlpaod3u&refer_page_sn=10032&_x_sess
                                  n_id=a0mmqld6dp

   129         RALNBOW            https://www.temu.com/ralnbow-m-
                                  634418211046403.html?goods_id=601099525399323&refer_page_name=goods&




                                               33
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                              refer_page_id=10032_1707342647121_uv0bg8yvz2&refer_page_sn=10032&_x_s
                              essn_id=fk876ve8vx
                              https://www.temu.com/sarahgirl-m-
                              634418211127885.html?goods_id=601099528088391&refer_page_name=goods&
   130          Sarahgirl
                              refer_page_id=10032_1707621437552_85xgj2buea&refer_page_sn=10032&_x_s
                              essn_id=lqbb83w3pl
                              https://www.temu.com/shiyoubelle-m-
                              4817933792022.html?goods_id=601099525413465&refer_page_name=goods&re
   131       SHIYOUBELLE
                              fer_page_id=10032_1707623204132_t7u9er6ia9&refer_page_sn=10032&_x_sess
                              n_id=7i2ocv8yga
                              https://www.temu.com/swimoutlet-m-
                              4693600824584.html?goods_id=601099521312480&refer_page_name=goods&re
   132         Swimoutlet
                              fer_page_id=10032_1707614313715_92276m4xhf&refer_page_sn=10032&_x_se
                              ssn_id=vojmzrtl8v
                              https://www.temu.com/westernmermaid-m-
                              634418212085208.html?goods_id=601099531249155&sticky_type=1&_x_sessn_
   133       WesternMermaid
                              id=40o7jvq2jw&refer_page_name=goods&refer_page_id=10032_1720802105884
                              _xtsp360qm1&refer_page_sn=10032
                              https://www.temu.com/world-clothes-m-
                              257101396959.html?goods_id=601099524618800&refer_page_name=goods&refe
   134        Worldclothes
                              r_page_id=10032_1707620473275_f34me7c5ri&refer_page_sn=10032&_x_sessn
                              _id=e3pqb9lwz1
                              https://www.temu.com/yuweiplus-m-
                              317569572721.html?goods_id=601099531540611&refer_page_name=goods&refe
   135         YuweiPlus
                              r_page_id=10032_1707341884338_gzlt691lvv&refer_page_sn=10032&_x_sessn_
                              id=ndiks8g59n
                              https://www.temu.com/yifang-m-
                              706938458181.html?goods_id=601099524394640&refer_page_name=goods&refe
   136           yifang
                              r_page_id=10032_1707613139674_21l241155b&refer_page_sn=10032&_x_sessn
                              _id=xlg6848ioe
                              https://www.temu.com/yysy-m-
                              4932898449539.html?goods_id=601099522542721&refer_page_name=goods&re
   137           YYSY
                              fer_page_id=10032_1707259886651_oose3zrjwu&refer_page_sn=10032&_x_ses
                              sn_id=o71ygpgcp9
                              https://www.temu.com/aachoae-m-
                              3467869125667.html?goods_id=601099521084387&refer_page_name=goods&re
   138          Aachoae
                              fer_page_id=10032_1707644453068_rau2i7hpnz&refer_page_sn=10032&_x_sess
                              n_id=50os0o7fi7
                              https://www.temu.com/alios-fashions-m-
                              634418211827954.html?goods_id=601099537446993&refer_page_name=goods&
   139        AliosFashions
                              refer_page_id=10032_1707640987534_4ow6lra71w&refer_page_sn=10032&_x_
                              sessn_id=zbvh78j2lq
                              https://www.temu.com/zeng-moyan-m-
                              6188818069552.html?goods_id=601099518280974&_x_sessn_id=s63erld6f0&ref
   140         Beautymark
                              er_page_name=goods&refer_page_id=10032_1707641043016_kwr9arr90x&refer
                              _page_sn=10032
                              https://www.temu.com/cansheng-m-
                              3598609741036.html?goods_id=601099515276055&refer_page_name=goods&re
   141          cansheng
                              fer_page_id=10032_1707592108137_uhvcrsag9e&refer_page_sn=10032&_x_ses
                              sn_id=7vgd2c3pxg
                              https://www.temu.com/ccyymm-m-
                              5042791387813.html?goods_id=601099531176310&refer_page_name=goods&re
   142           Ceten
                              fer_page_id=10032_1707642336361_qf6kbx4ctd&refer_page_sn=10032&_x_ses
                              sn_id=4pk25o5o2m




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                                   https://www.temu.com/coocona-fashion-m-
                                   5029364425608.html?goods_id=601099519522912&refer_page_name=goods&re
   143       Coocona fashion
                                   fer_page_id=10032_1707643451087_pskbkw0gci&refer_page_sn=10032&_x_ses
                                   sn_id=wrj1uw6aen
                                   https://www.temu.com/code-m-
                                   255020990996.html?goods_id=601099514511693&refer_page_name=goods&refe
   144             code
                                   r_page_id=10032_1707643240465_u5chr5vlq2&refer_page_sn=10032&_x_sessn
                                   _id=36bs3wq0m4
                                   https://www.temu.com/hqsweet-m-
                                   5501343735171.html?goods_id=601099516336049&refer_page_name=goods&re
   145       CrazyGirlFashion
                                   fer_page_id=10032_1707534565053_afsn7k9x9h&refer_page_sn=10032&_x_ses
                                   sn_id=g6di2cxejj
                                   https://www.temu.com/darlings-m-
                                   5590735629425.html?goods_id=601099516353853&refer_page_name=goods&re
   146           Darlings
                                   fer_page_id=10032_1707643788093_owg1bl8y6v&refer_page_sn=10032&_x_se
                                   ssn_id=r7top4kmpw
                                   https://www.temu.com/dongfangstyle-m-
                                   4944017706136.html?goods_id=601099514979183&refer_page_name=goods&re
                                   fer_page_id=10032_1707592028624_of237sq3qi&refer_page_sn=10032&_x_sess
   147     DONGFANGSTYLE           n_id=72lu1fbhce



                                   https://www.temu.com/dy-style-m-
                                   4546958804264.html?goods_id=601099537710077&refer_page_name=goods&re
   148           DYstyle
                                   fer_page_id=10032_1707644586663_4y7jdqcjrt&refer_page_sn=10032&_x_sess
                                   n_id=rhgnkmn321
                                   https://www.temu.com/elegantlady-m-
                                   634418211717893.html?goods_id=601099532697146&refer_page_name=goods&
   149          Elegantlady
                                   refer_page_id=10032_1707644745525_agu2jhhesw&refer_page_sn=10032&_x_s
                                   essn_id=oug7wqt2py
                                   https://www.temu.com/encantador-m-
                                   270701799332.html?goods_id=601099517173958&refer_page_name=goods&refe
   150          Encantador
                                   r_page_id=10032_1707627705084_0s3i86wwcd&refer_page_sn=10032&_x_sess
                                   n_id=8ed65rxc9n
                                   https://www.temu.com/-fu-shi-m-
                                   6115431422187.html?goods_id=601099518982098&refer_page_name=goods&re
   151        FEIYUEFUSHI
                                   fer_page_id=10032_1707592546549_u3kzujoytb&refer_page_sn=10032&_x_sess
                                   n_id=ysojs8spsg
                                   https://www.temu.com/first-clothing-m-
                                   5704396901547.html?goods_id=601099534779623&sticky_type=1&_x_sessn_id
   152         Firstclothing
                                   =r6qco044rb&refer_page_name=goods&refer_page_id=10032_1707645352005_s
                                   lpnjqx5no&refer_page_sn=10032
                                   https://www.temu.com/hui-shangying-clothing-m-
                                   4362225145628.html?goods_id=601099533143265&refer_page_name=goods&re
   153     Huishangying clothing
                                   fer_page_id=10032_1707267526869_7wbcwwsvjx&refer_page_sn=10032&_x_se
                                   ssn_id=zb8w2cpvdt
                                   https://www.temu.com/imango-fashion-m-
                                   179311289499.html?goods_id=601099523087242&refer_page_name=goods&refe
   154        Imango Fashion
                                   r_page_id=10032_1707266600752_j5u27g4dfg&refer_page_sn=10032&_x_sessn
                                   _id=pi67gcmvmu
                                   https://www.temu.com/imango-women-m-
                                   634418211511389.html?goods_id=601099537081121&refer_page_name=goods&
   155        Imango Women
                                   refer_page_id=10032_1707593711718_bz9ygge8pg&refer_page_sn=10032&_x_s
                                   essn_id=iw43wmu0il




                                                35
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                                   https://www.temu.com/jevons-m-
                                   634418211118474.html?goods_id=601099539921018&sticky_type=1&_x_sessn_
   156           JEVONS            id=cc82hg48jl&refer_page_name=goods&refer_page_id=10032_1707611576483
                                   _nci0yhzszt&refer_page_sn=10032


                                   https://www.temu.com/jiaweiyafuzhuangyouxiangongsi-m-
           JIAWEIYAFUZHUA
                                   126150994444.html?goods_id=601099514938047&refer_page_name=goods&refe
   157     NGYOUXIANGONG
                                   r_page_id=10032_1707612493812_belfrmmtzb&refer_page_sn=10032&_x_sessn
                  SI
                                   _id=olr2wk651p
                                   https://www.temu.com/j-m-clothing-m-
                                   32464065629.html?goods_id=601099516308329&sticky_type=1&_x_sessn_id=e
   158         J M clothing
                                   56a0zlsk0&refer_page_name=goods&refer_page_id=10032_1707614664436_hlx
                                   2n7afnf&refer_page_sn=10032
                                   https://www.temu.com/lianshangying-m-
                                   634418211878993.html?goods_id=601099540972646&refer_page_name=goods&
   159        Lianshangying
                                   refer_page_id=10032_1707285094722_hd9pz4bwz3&refer_page_sn=10032&_x_
                                   sessn_id=d2ytve4xp5
                                   https://www.temu.com/liweiya-m-
                                   4364649689236.html?goods_id=601099514841955&refer_page_name=goods&re
   160            Liweiya
                                   fer_page_id=10032_1707619933614_65h9cj2toi&refer_page_sn=10032&_x_sess
                                   n_id=e6wlleao6v
                                   https://www.temu.com/loretta-boutique-clothing-m-
             Loretta Boutique      208767635346.html?goods_id=601099517079929&refer_page_name=goods&refe
   161
                 clothing          r_page_id=10032_1707300102079_2u5m8yh7zf&refer_page_sn=10032&_x_sess
                                   n_id=ozfsq02a6z
                                   https://www.temu.com/maoguoshu-m-
                                   4926522626665.html?goods_id=601099526411155&refer_page_name=goods&re
   162        MAOGUOSHU
                                   fer_page_id=10032_1707593123526_onwamzsuh7&refer_page_sn=10032&_x_se
                                   ssn_id=tg39jn0juz
                                   https://www.temu.com/mmzfashion-m-
                                   66022943632.html?goods_id=601099517614456&refer_page_name=goods&refer
   163         MMZfashion
                                   _page_id=10032_1707594337984_m5hf7uhch7&refer_page_sn=10032&_x_sessn
                                   _id=0f8hfadg9e
                                   https://www.temu.com/modern-style-m-
                                   321197610603.html?goods_id=601099519447881&refer_page_name=goods&refe
   164         Modernstyle
                                   r_page_id=10032_1707600586965_4otgyie4i5&refer_page_sn=10032&_x_sessn_
                                   id=i1l6ox1f8f
                                   https://www.temu.com/moving-light-fashion-m-
                                   2397223686179.html?goods_id=601099538744756&refer_page_name=goods&re
   165      Movingl ight fashion
                                   fer_page_id=10032_1707600857369_qqnv8er0lf&refer_page_sn=10032&_x_sess
                                   n_id=qgekggyaf2
                                   https://www.temu.com/muthenswimsuit-m-
                                   116006867106.html?goods_id=601099518401994&sticky_type=1&_x_sessn_id=
   166        muthenswimsuit
                                   ajk0xx7m33&refer_page_name=goods&refer_page_id=10032_1707610614079_3
                                   1zryb6uw9&refer_page_sn=10032
                                   https://www.temu.com/mu-xi-xia-m-
                                   634418210535097.html?goods_id=601099521537306&refer_page_name=goods&
   167          MUXIXIA
                                   refer_page_id=10032_1707610772629_j9agd8tju6&refer_page_sn=10032&_x_se
                                   ssn_id=9kxkxunipi
                                   https://www.temu.com/omani-fashion-clothing-m-
              Omani fashion        6151345544238.html?goods_id=601099518156572&refer_page_name=goods&re
   168
                clothing           fer_page_id=10032_1707613328316_nov09z26ez&refer_page_sn=10032&_x_ses
                                   sn_id=3zjzmtm2qu




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                               https://www.temu.com/clothing-loves-m-
            Perfectwomen aka   21350526274.html?goods_id=6017592186072862&sticky_type=1&refer_page_na
   169
             Clothing Loves    me=goods&refer_page_id=10032_1720802380462_5mhxo7x8ju&refer_page_sn=
                               10032&_x_sessn_id=40o7jvq2jw
                               https://www.temu.com/pretty-moon-m-
                               147154680814.html?goods_id=601099520400107&refer_page_name=goods&refe
   170         PrettyMoon
                               r_page_id=10032_1707296730431_v44u7gloch&refer_page_sn=10032&_x_sessn
                               _id=reo0go23vx
                               https://www.temu.com/reayoyo-m-
                               634418211078523.html?goods_id=601099522631077&refer_page_name=goods&
   171         REAYOYO
                               refer_page_id=10032_1707625002035_kw86di65rt&refer_page_sn=10032&_x_s
                               essn_id=t8ypv9flgx
                               https://www.temu.com/rsdzsw-m-
                               5337432650945.html?goods_id=601099517886619&refer_page_name=goods&re
   172          RSDZSW
                               fer_page_id=10032_1707621017322_i8uxm3o6nu&refer_page_sn=10032&_x_se
                               ssn_id=h0jyya2kpw
                               https://www.temu.com/shley-m-
                               4687144028072.html?goods_id=601099518233648&_x_sessn_id=ipo21l5pl2&ref
   173            Shley
                               er_page_name=goods&refer_page_id=10032_1707632613248_ral2oxvq7k&refer
                               _page_sn=10032
                               https://www.temu.com/shuhao-sports-m-
                               23188371289.html?goods_id=601099531736328&refer_page_name=goods&refer
   174        Shuhao Sports
                               _page_id=10032_1707623628802_q6x0maaxqn&refer_page_sn=10032&_x_sess
                               n_id=lona1dndz3
                               https://www.temu.com/super-fashions-m-
                               6207609503045.html?goods_id=601099519011873&refer_page_name=goods&re
   175        Super fashions
                               fer_page_id=10032_1707611152315_i5nh61bjuf&refer_page_sn=10032&_x_sess
                               n_id=ugs2l199ho
                               https://www.temu.com/tralook-fashion-m-
                               634418211841293.html?goods_id=601099542645286&sticky_type=1&_x_sessn_
   176           Tralook
                               id=40o7jvq2jw&refer_page_name=goods&refer_page_id=10032_1720802570091
                               _8l5a9bnw14&refer_page_sn=10032
                               https://www.temu.com/two-red-m-
                               5103912475480.html?goods_id=601099537514768&refer_page_name=goods&re
   177           two red
                               fer_page_id=10032_1707299780263_6ohlaw8far&refer_page_sn=10032&_x_ses
                               sn_id=ijdw0o5vsx
                               https://www.temu.com/two-years-m-
                               4879447775914.html?goods_id=601099519348704&sticky_type=1&_x_sessn_id
   178          two years
                               =mflgzybviv&refer_page_name=goods&refer_page_id=10032_1707619325655_1
                               58nbv39zk&refer_page_sn=10032
                               https://www.temu.com/woderow-m-
                               5261709007355.html?goods_id=601099518434809&refer_page_name=goods&re
   179          Woderow
                               fer_page_id=10032_1707620377225_yxlhsqi4xn&refer_page_sn=10032&_x_sess
                               n_id=ek2t5ekzq9
                               https://www.temu.com/wfuw-m-
                               634418210689975.html?goods_id=601099535156037&refer_page_name=goods&
   180           WFUW
                               refer_page_id=10032_1707633407390_7ij0wh7uv9&refer_page_sn=10032&_x_s
                               essn_id=tnacl8wv3x
                               https://www.temu.com/vishie-m-
                               4829784114295.html?goods_id=601099519532766&refer_page_name=goods&re
   181           VISHIE
                               fer_page_id=10032_1707619632303_5p6w3vq0bp&refer_page_sn=10032&_x_se
                               ssn_id=gpacmjmeqn

   182          yasixuan       https://www.temu.com/yasixuan-m-
                               4815406913658.html?goods_id=601099516921662&refer_page_name=goods&re




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                                fer_page_id=10032_1707612936054_0sgecv0u0b&refer_page_sn=10032&_x_ses
                                sn_id=fhdmg1s6t2
                                https://www.temu.com/yeb-m-
                                5715568560666.html?goods_id=601099520626921&refer_page_name=goods&re
   183            YEB
                                fer_page_id=10032_1707621583955_qaeepvn0ib&refer_page_sn=10032&_x_ses
                                sn_id=w19fugnkoq
                                https://www.temu.com/yi-shang-pin-zhi-clothing-m-
             Yi Shang Pin Zhi   4882390637261.html?goods_id=601099529048357&refer_page_name=goods&re
   184
                 Clothing       fer_page_id=10032_1707593500943_1c7uvzms4k&refer_page_sn=10032&_x_se
                                ssn_id=uxgbgarwtj
                                https://www.temu.com/yoyo-liu-m-
                                5897658181900.html?goods_id=601099518157267&refer_page_name=goods&re
   185         YOYOLIU
                                fer_page_id=10032_1707623259240_pw79ggza92&refer_page_sn=10032&_x_se
                                ssn_id=i8q8g87jiq
                                https://www.temu.com/yujunxifushi-m-
                                634418211951275.html?goods_id=601099534240860&refer_page_name=goods&
   186        YuJunXiFuShi
                                refer_page_id=10032_1707623440788_uo3ejd0sbn&refer_page_sn=10032&_x_s
                                essn_id=rx2ruhk20i
                                https://www.temu.com/zoee-m-
                                135649186268.html?goods_id=601099531362326&refer_page_name=goods&refe
   187            ZOEE
                                r_page_id=10032_1707297412406_vv7f2488zo&refer_page_sn=10032&_x_sessn
                                _id=161blprtxa
                                https://www.temu.com/zvpc-m-
                                4949770221664.html?goods_id=601099515049788&refer_page_name=goods&re
   188            ZVPC
                                fer_page_id=10032_1707620234262_md9sghmq66&refer_page_sn=10032&_x_s
                                essn_id=fg7du2e9i4




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